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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                               Fort Lauderdale Division
                                www.flsb.uscourts.gov

In re:                                              Case No. 16-25628-BKC-JKO

LUIS ERNESTO LINARES, SR and LEDY                   Chapter 7
COROMOTO LINARES,

      Debtors.
___________________________________/

TRUSTEE'S MOTION TO (A) APPROVE SALE OF REAL PROPERTY, FREE AND CLEAR
  OF LIENS, CLAIMS AND ENCUMBRANCES; (B) AUTHORIZE TRUSTEE TO ENTER
       INTO CONTRACT FOR SALE OF REAL PROPERTY; AND (C) APPROVE
     PAYMENT OF COMMISSION TO BROKER(S) FROM CLOSING PROCEEDS

         Chapter 7 Trustee, Kenneth A. Welt (the “Trustee”), by undersigned counsel, pursuant to

11 U.S.C. §§ 105, 363(b) and (f) and Fed. R. Bankr. P. 6004, requests the Court enter an order

approving the sale of certain real property described below, free and clear of liens, claims and

encumbrances, authorizing the Trustee to enter into a contract for the sale of real property, and

approving the payment of commission to the Trustee’s real estate broker(s) from the closing

proceeds, and in support thereof states as follows:

         1.     This case was commenced by the filing of a voluntary Chapter 7 petition on

November 22, 2016 by Luis Ernesto Linares, Sr and Ledy Coromoto Linares (the “Debtors”).

Kenneth A. Welt was appointed interim trustee and became permanent trustee by operation of

law.

                                 Introduction and Background

         2.     The Debtors listed on their Schedule “A” [ECF No. 1] the real property located at

829 Heritage Dr, Weston, FL 33326 (the “Property”), having a legal description of “Lot 47, Block

G, Sector 4 North, according to the map or plat thereof, as recorded in Plat Book 153, Page(s)

46, of the Public Records of Broward County, Florida”.

         3.     According to the Debtors’ schedules, there are liens, claims and/or encumbrances

against the Property, which total an amount greater than the value of the Property.

         4.     Although the Debtors initially claimed the Property as exempt on their Schedule

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“C” [ECF No. 1], on or around August 30, 2017, the Debtors entered into an Agreement

Regarding Sale of Real Property in Bankruptcy Case (the “Agreement”) with the Trustee,

whereby they agreed that their exemption in the Property was disclaimed, and that the Property

is non-exempt. Furthermore, the Debtors agreed to surrender the Property and that the Trustee

may sell the Property, pursuant to 11 U.S.C. § 363(f).

       5.      On September 21, 2017, the Trustee filed a Motion to Approve Settlement with

Luis Ernesto Linares, Sr and Ledy Coromoto Linares [ECF No. 59] (the “Motion to Approve

Settlement”), whereby the Trustee requested that the Court approve the Agreement. On

October 23, 2017, the Court entered an Order Granting the Motion to Approve Settlement [ECF

No. 65], which approved and adopted the Agreement.

       6.      Therefore, the Property is not exempt and is property of the bankruptcy estate

pursuant to 11 U.S.C. § 541.

       7.      The Trustee has reviewed the actual liens, claims and encumbrances against the

Property, and they are detailed in the chart below.

                                The Sale Process and the Offer

       8.      Given the relative value of the Property and the amount(s) owed to holders of

secured claims against the Property, the Trustee believed that it would be in the best interest of

the bankruptcy estate if the Trustee were to sell the Property via a “short sale” transaction, which

would provide for a carve-out to the bankruptcy estate.

       9.      As such, on June 21, 2017 (in contemplation of the consummation of the

Agreement identified above), the Trustee filed the Trustee’s Ex-Parte Motion (A) to Employ Real

Estate Broker; (B) to Enter Into Listing Agreement; (C) for Authorization to Enter Into Short Sale

Negotiation Process; and (D) to Enter Into Contract for Sale of Real Property [ECF No. 49] (the

“Listing Agreement Motion”), whereby the Trustee requested that the Court authorize the

Trustee to enter into a listing agreement with Alejandro J. Morad and Charles Rutenberg Realty,

LLC (the “Real Estate Broker”), in order to market and sell the Property. The Listing Agreement


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Motion was approved on June 22, 2017 [ECF No. 50].

       10.        Since the Listing Agreement Motion was granted, the Real Estate Broker has

acted efficiently and expeditiously in attempting to market and sell the Property. The Real

Estate Broker has shown the Property to various interested purchasers and has received an

offer to purchase the Property from Priti Getkewar (the “Purchaser”), in the amount of

$490,000.00. The Purchaser is not an insider of the Debtors.

       11.        This is the highest and best offer that the Real Estate Broker has received, and in

his professional experience selling real property in Florida, the offer is well in line with current

market prices for similar properties in the area.

       12.        The Trustee, Real Estate Broker and Purchaser have agreed to the terms

contained in the “As Is” Residential Contract for Sale and Purchase (along with addendums)

attached hereto as Exhibit “A” (the “Contract”), the primary material terms of which are as

follows:

             a. Purchase Price: $490,000.00 (the “Purchase Price”);

             b. Terms: As-is, where-is, with no representations or warranties of any type given
                by the Trustee, but free and clear of all liens, claims and encumbrances;

             c. Closing Date: 45 days of the Secured Lender Approval.

             d. Commission: $29,400.00 (the “Commission”), which equals 6% of the Purchase
                Price, to be split equally between the Real Estate Broker and a cooperating
                broker for this transaction, Paul McRae of PMG Realty Group, LLC (the
                “Cooperating Broker”) (this amount is not being paid by the Trustee or the
                bankruptcy estate but is instead paid from the proceeds of the sale);

             e. Payment to Estate: The bankruptcy estate shall receive a $20,000.00 carve-out
                (the “Carve-Out”) from the distribution otherwise entitled to the Secured Lender
                by consent at closing from the sales proceeds;

             f.   No financing contingency;

             g. Secured Lender Approval: The sale is subject to Secured Lender approval,
                which has already been obtained, as set forth in the attached Exhibit “B”.
                Although the Short Sale Approval provided that the closing of the contemplated
                sale must occur on or before March 15, 2018, that date was not feasible, and the
                Trustee’s Real Estate Broker anticipates receiving a revised Short Sale Approval,
                which extends the required closing date, prior to the hearing on this Motion;


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                   h. Subject to Bankruptcy Court approval; and

                   i.   Subject to higher and better offers.

             13.        The primary financial terms of the Contract are set forth below, as well as in the

     preliminary HUD-1 Settlement Statement, attached as Exhibit “C”:

                   Contract Sales Price                         $490,000.00
                   Real Estate Taxes (if any)                   N/A
                   Payment to Secured Lender                    $432,451.67
                   Carve-Out for Bankruptcy Estate              $20,000.00

                          Liens, Claims and Encumbrances Against the Property

             14.        Furthermore, the alleged liens, claims and encumbrances against the Property,

     and the proposed treatment of same pursuant to the proposed sale, is set forth below:

       Claimant              Nature of Lien, Claim or Encumbrance            Amount         Proposed Disposition at
                                                                                                     Closing
SunTrust Bank (the          First Mortgage recorded in ORB 43642,          $616,589.23      Payment of $432,451.67 at
“Secured Lender”)           Page 281 and re-recorded in ORB 44745,                          closing, pursuant to Short
                            Page 576, Public Records of Broward            (according to    Sale Approval Letter (the
                            County, Florida, in favor of Mortgage          ECF No. 40)      “Short Sale Approval”)
                            Electronic Registration Systems, Inc., as
                            nominee for SunTrust Mortgage, Inc., and       (actual amount
                            assigned to the Secured Lender by virtue of    is higher)
                            Assignment(s) of Mortgage recorded in
                            Instrument No. 113634583.
Southern Wine &             Judgment Lien recorded in Instrument No.       $59,667.36       No payment at closing,
Spirits of Florida, a       113885528, Public Records of Broward                            pursuant to 11 U.S.C. §
Division of Southern        County, Florida                                                 363(f)(1) and (5)
Wine & Spirits of
America, Inc.
North Lake                  Unpaid     homeowners           association    $1,067.50        $1,067.50, or such other
Maintenance                 maintenance payments                                            amount       to      pay
Association, Inc.                                                                           maintenance payments in
                                                                                            full
Broward County Tax          All real estate taxes through 2017 have been   N/A              N/A
Collector (or holder(s)     paid
of tax certificates)

             15.        Any other charges are comprised of normal and customary closing costs involved

     in a residential real estate transaction, as set forth in Exhibit “C”.

                                                 Relief Requested

             16.        The Trustee requests that the Court approve the sale of the Property to the

     Purchaser, pursuant to 11 U.S.C. § 363(f), free and clear of any and all liens, claims and

     encumbrances, upon the terms set forth above. The Trustee also requests that the Court

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authorize the Trustee to enter into the Contract and approve the payment of the Commission to

the Real Estate Broker.

       17.     11 U.S.C. § 363(b) provides that “[t]he trustee, after notice and hearing, may use,

sell, or lease, other than in the ordinary course of business, property of the estate.”

       18.     Additionally, 11 U.S.C. § 363(f) permits the Trustee to “…sell property under

subsection (b) … of this section free and clear of any interest in such property of an entity other

than the estate, only if –

       (1) applicable non-bankruptcy law permits sale of such property free and clear of
           such interest;
       (2) such entity consents;
       (3) such interest is a lien and the price at which such property is to be sold is
           greater than the aggregate value of all liens on such property;
       (4) such interest is in bona fide dispute; or
       (5) such entity could be compelled, in a legal or equitable proceeding, to accept a
           money satisfaction of such interest”.

       19.     The Secured Lender has consented to the sale of the Property, as set forth

above, and has approved (or will approve) the HUD-1 Closing Statement attached hereto as

Exhibit “C”, thereby satisfying 11 U.S.C. § 362(f)(2).

       20.     Furthermore, with respect to any other potential interest(s), such interest(s) would

be treated as set forth above, pursuant to 11 U.S.C. § 363(f).

       21.     For all of the above reasons, the Court should authorize the sale of the Property,

free and clear of any and all liens, claims and encumbrances.

       22.     Furthermore, the Trustee requests that at closing, the Purchaser is deemed to be

a good faith purchaser within the meaning of 11 U.S.C. § 363(m), provided that the Purchaser

has complied with all requirements of the Contract.

       23.     If there is a conflict between the terms of this Motion and the terms of the

Contract, then the terms of the Contract shall control.

       24.     The Trustee, exercising his business judgment, believes that the sale of the

Property to the Purchaser is in the best interest of the bankruptcy estate.

       25.     The Trustee requests that the Court provide the Trustee with the authority to close

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the sale, disburse the sales proceeds as set forth in the HUD-1 Closing Statement attached

hereto as Exhibit “C” and execute any and all documents necessary to consummate the closing.

       26.     In addition, the Trustee requests that the Court waive the stay period under Fed.

R. Bank. P. 6004(h), so that the parties can comply with the scheduled closing date.

       WHEREFORE, the Trustee respectfully requests the Court enter an order: (a) approving

the sale of the Property to the Purchaser; (b) authorizing the Trustee to enter into the Contract;

(c) approving the payment of the Commission to the Real Estate Broker and the Cooperating

Broker; and (d) granting such other and further relief as the Court deems just and proper.

      Dated: March 17, 2018.                          LEIDERMAN SHELOMITH ALEXANDER +
                                                      SOMODEVILLA, PLLC
                                                      Attorneys for Kenneth A. Welt
                                                      2699 Stirling Road, Suite C401
                                                      Ft. Lauderdale, Florida 33312
                                                      Telephone: (954) 920-5355
                                                      Facsimile: (954) 920-5371

                                                      By:___________/s/______________
                                                            ZACH B. SHELOMITH
                                                            Florida Bar No. 0122548
                                                            zbs@lsaslaw.com




                             ________________________
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          “AS IS” Residential Contract For Sale And Purchase
          THIS FORM HAS BEEN APPROVED BY THE FLORIDA REALTORS AND THE FLORIDA BAR

   1      PARTIES: Kenneth A. Welt Chapter 7 Trustee for the Estate of Luis E Linares & Ledy Cromoto                      ("Seller"),
   2      and PRITI GETKEWAR                                                                                             ("Buyer"),
   3      agree that Seller shall sell and Buyer shall buy the following described Real Property and Personal Property
   4      (collectively “Property”) pursuant to the terms and conditions of this AS IS Residential Contract For Sale And Purchase
   5      and any riders and addenda (“Contract”):
   6      1. PROPERTY DESCRIPTION:
   7           (a) Street address, city, zip: 829 Heritage Drive, Weston FL 33326
   8           (b) Located in: ______________
                                Broward           County, Florida. Property Tax ID #: 5039 01 02 3140
   9           (c) Real Property: The legal description is
  10
  11
                                                  SECTOR 4 NORTH 153-46 B LOT 47 BLK G
  12               together with all existing improvements and fixtures, including built-in appliances, built-in furnishings and
  13               attached wall-to-wall carpeting and flooring (“Real Property”) unless specifically excluded in Paragraph 1(e) or
  14               by other terms of this Contract.
  15           (d) Personal Property: Unless excluded in Paragraph 1(e) or by other terms of this Contract, the following items
  16               which are owned by Seller and existing on the Property as of the date of the initial offer are included in the
  17               purchase: range(s)/oven(s), refrigerator(s), dishwasher(s), disposal, ceiling fan(s), intercom, light fixture(s),
  18               drapery rods and draperies, blinds, window treatments, smoke detector(s), garage door opener(s), security gate
  19               and other access devices, and storm shutters/panels ("Personal Property").
  20               Other Personal Property items included in this purchase are:
  21
  22               Personal Property is included in the Purchase Price, has no contributory value, and shall be left for the Buyer.
  23           (e) The following items are excluded from the purchase:
  24

  25                                                             PURCHASE PRICE AND CLOSING
  26      2. PURCHASE PRICE (U.S. currency):................................................................................................$ 480,000
  27         (a) Initial deposit to be held in escrow in the amount of (checks subject to COLLECTION) .......$ 5,000
  28             The initial deposit made payable and delivered to “Escrow Agent” named below
  29             (CHECK ONE): (i)        accompanies offer or (ii)                 is to be made within _____         2        (if left
  30             blank, then 3) days after Effective Date. IF NEITHER BOX IS CHECKED, THEN
  31             OPTION (ii) SHALL BE DEEMED SELECTED.
  32             Escrow Agent Information: Name: Genovese Joblove & Battista
  33             Address: 100 SE 2nd Street, Suite 4400
  34
          Pg     Phone: 305-349-2300            E-mail: mdiazclark@gjb-law.com                             Fax: 305-428-8825
  35         (b) Additional deposit to be delivered to Escrow Agent within __________ (if left blank, then 10)
                                                                                                AT LENDER APPROVAl



  36             days after Effective Date ........................................................................................................... $_____________
                                                                                                                                                        5,000

  37             (All deposits paid or agreed to be paid, are collectively referred to as the “Deposit”)
  38         (c) Financing: Express as a dollar amount or percentage (“Loan Amount”) see Paragraph 8......... _____________                             N/A


  39         (d) Other:                                                                                                    ................ $_____________
                                                                                                                                             N/A

  40         (e) Balance to close (not including Buyer’s closing costs, prepaids and prorations) by wire
  41             transfer or other COLLECTED funds ........................................................................................ $_____________
                                                                                                                                             470,000

  42             NOTE: For the definition of “COLLECTION” or “COLLECTED” see STANDARD S.
  43      3. TIME FOR ACCEPTANCE OF OFFER AND COUNTER-OFFERS; EFFECTIVE DATE:
  44         (a) If not signed by Buyer and Seller, and an executed copy delivered to all parties on or before
  45             _______________________,
                  December 9th, 2017 at 5:00 P.M.     this offer shall be deemed withdrawn and the Deposit, if any, shall be returned to
  46             Buyer. Unless otherwise stated, time for acceptance of any counter-offers shall be within 2 days after the day
  47             the counter-offer is delivered.
  48         (b) The effective date of this Contract shall be the date when the last one of the Buyer and Seller has signed or
  49             initialed and delivered this offer or final counter-offer (“Effective Date”).
  50      4. CLOSING DATE: Unless modified by other provisions of this Contract, the closing of this transaction shall occur
  51         and the closing documents required to be furnished by each party pursuant to this Contract shall be delivered
  52                              within 14 days of the court order
             (“Closing”) on _____________________________                (“Closing Date”), at the time established by the Closing Agent.
                               Pg within 45 days of short sale approval

          Buyer’s Initials _________ __________                       Page 1 of 12                              Seller’s Initials __________ __________
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  53      5. EXTENSION OF CLOSING DATE:
  54         (a) If Paragraph 8(b) is checked and Closing funds from Buyer’s lender(s) are not available on Closing Date due
  55              to Consumer Financial Protection Bureau Closing Disclosure delivery requirements (“CFPB Requirements”),
  56              then Closing Date shall be extended for such period necessary to satisfy CFPB Requirements, provided such
  57              period shall not exceed 10 days.
  58         (b) If an event constituting “Force Majeure” causes services essential for Closing to be unavailable, including the
  59              unavailability of utilities or issuance of hazard, wind, flood or homeowners’ insurance, Closing Date shall be
  60              extended as provided in STANDARD G.
  61      6. OCCUPANCY AND POSSESSION:
  62         (a) Unless the box in Paragraph 6(b) is checked, Seller shall, at Closing, deliver occupancy and possession of the
  63              Property to Buyer free of tenants, occupants and future tenancies. Also, at Closing, Seller shall have removed
  64              all personal items and trash from the Property and shall deliver all keys, garage door openers, access devices
  65              and codes, as applicable, to Buyer. If occupancy is to be delivered before Closing, Buyer assumes all risks of
  66              loss to the Property from date of occupancy, shall be responsible and liable for maintenance from that date,
  67              and shall be deemed to have accepted the Property in its existing condition as of time of taking occupancy.
  68         (b)      CHECK IF PROPERTY IS SUBJECT TO LEASE(S) OR OCCUPANCY AFTER CLOSING. If Property is
  69              subject to a lease(s) after Closing or is intended to be rented or occupied by third parties beyond Closing, the
  70              facts and terms thereof shall be disclosed in writing by Seller to Buyer and copies of the written lease(s) shall
  71              be delivered to Buyer, all within 5 days after Effective Date. If Buyer determines, in Buyer’s sole discretion, that
  72              the lease(s) or terms of occupancy are not acceptable to Buyer, Buyer may terminate this Contract by delivery
  73              of written notice of such election to Seller within 5 days after receipt of the above items from Seller, and Buyer
  74              shall be refunded the Deposit thereby releasing Buyer and Seller from all further obligations under this Contract.
  75              Estoppel Letter(s) and Seller’s affidavit shall be provided pursuant to STANDARD D. If Property is intended to
  76              be occupied by Seller after Closing, see Rider U. POST-CLOSING OCCUPANCY BY SELLER.
  77      7. ASSIGNABILITY: (CHECK ONE): Buyer                may assign and thereby be released from any further liability under
  78         this Contract;      may assign but not be released from liability under this Contract; or          may not assign this
  79         Contract.
  80                                                                       FINANCING
  81     8. FINANCING:
  82           (a) Buyer will pay cash for the purchase of the Property at Closing. There is no financing contingency to Buyer’s
  83        obligation to close. If Buyer obtains a loan for any part of the Purchase Price of the Property, Buyer acknowledges
  84        that any terms and conditions imposed by Buyer’s lender(s) or by CFPB Requirements shall not affect or extend
  85        the Buyer’s obligation to close or otherwise affect any terms or conditions of this Contract.
  86
       Pg      (b) This Contract is contingent upon Buyer obtaining approval of a          conventional     FHA    VA or    other
  87        ______________ (describe) loan within _______ (if left blank, then 30) days after Effective Date (“Loan Approval
  88        Period”) for (CHECK ONE):          fixed,   adjustable,   fixed or adjustable rate in the Loan Amount (See Paragraph
  89        2(c)), at an initial interest rate not to exceed _______ % (if left blank, then prevailing rate based upon Buyer’s
  90        creditworthiness), and for a term of _______(if left blank, then 30) years (“Financing”).
  91              (i) Buyer shall make mortgage loan application for the Financing within _______ (if left blank, then 5) days
  92        after Effective Date and use good faith and diligent effort to obtain approval of a loan meeting the Financing terms
  93        (“Loan Approval”) and thereafter to close this Contract. Loan Approval which requires a condition related to the sale
  94        by Buyer of other property shall not be deemed Loan Approval for purposes of this subparagraph.
  95          Buyer’s failure to use diligent effort to obtain Loan Approval during the Loan Approval Period shall be considered a
  96          default under the terms of this Contract. For purposes of this provision, “diligent effort” includes, but is not limited
  97          to, timely furnishing all documents and information and paying of all fees and charges requested by Buyer’s
  98          mortgage broker and lender in connection with Buyer’s mortgage loan application.
  99                (ii) Buyer shall keep Seller and Broker fully informed about the status of Buyer’s mortgage loan application,
 100          Loan Approval, and loan processing and authorizes Buyer’s mortgage broker, lender, and Closing Agent to disclose
 101          such status and progress, and release preliminary and finally executed closing disclosures and settlement
 102          statements, to Seller and Broker.
 103                (iii) Upon Buyer obtaining Loan Approval, Buyer shall promptly deliver written notice of such approval to Seller.
 104                (iv) If Buyer is unable to obtain Loan Approval after the exercise of diligent effort, then at any time prior to
 105          expiration of the Loan Approval Period, Buyer may provide written notice to Seller stating that Buyer has been
 106          unable to obtain Loan Approval and has elected to either:
 107                  (1) waive Loan Approval, in which event this Contract will continue as if Loan Approval had been obtained; or
 108                  (2) terminate this Contract.

          Buyer’s Initials _________ __________                       Page 2 of 12                              Seller’s Initials __________ __________
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 109    Pg          (v) If Buyer fails to timely deliver either notice provided in Paragraph 8(b)(iii) or (iv), above, to Seller prior to
 110          expiration of the Loan Approval Period, then Loan Approval shall be deemed waived, in which event this Contract
 111          will continue as if Loan Approval had been obtained, provided however, Seller may elect to terminate this Contract
 112          by delivering written notice to Buyer within 3 days after expiration of the Loan Approval Period.
 113                (vi) If this Contract is timely terminated as provided by Paragraph 8(b)(iv)(2) or (v), above, and Buyer is not in
 114          default under the terms of this Contract, Buyer shall be refunded the Deposit thereby releasing Buyer and Seller
 115          from all further obligations under this Contract.
 116                (vii) If Loan Approval has been obtained, or deemed to have been obtained, as provided above, and Buyer
 117          fails to close this Contract, then the Deposit shall be paid to Seller unless failure to close is due to: (1) Seller’s
 118          default or inability to satisfy other contingencies of this Contract; (2) Property related conditions of the Loan Approval
 119          have not been met (except when such conditions are waived by other provisions of this Contract); or (3) appraisal
 120          of the Property obtained by Buyer’s lender is insufficient to meet terms of the Loan Approval, in which event(s) the
 121          Buyer shall be refunded the Deposit, thereby releasing Buyer and Seller from all further obligations under this
 122          Contract.
 123              (c) Assumption of existing mortgage (see rider for terms).
 124              (d) Purchase money note and mortgage to Seller (see riders; addenda; or special clauses for terms).
 125                                                  CLOSING COSTS, FEES AND CHARGES
 126      9. CLOSING COSTS; TITLE INSURANCE; SURVEY; HOME WARRANTY; SPECIAL ASSESSMENTS:
 127         (a) COSTS TO BE PAID BY SELLER:
 128           • Documentary stamp taxes and surtax on deed, if any                  • HOA/Condominium Association estoppel fees
 129           • Owner’s Policy and Charges (if Paragraph 9(c)(i) is checked) • Recording and other fees needed to cure title
 130           • Title search charges (if Paragraph 9(c)(iii) is checked)            • Seller’s attorneys’ fees
 131           • Municipal lien search (if Paragraph 9(c)(i) or (iii) is checked)    • Other:
 132               If, prior to Closing, Seller is unable to meet the AS IS Maintenance Requirement as required by Paragraph 11
 133               a sum equal to 125% of estimated costs to meet the AS IS Maintenance Requirement shall be escrowed at
 134               Closing. If actual costs to meet the AS IS Maintenance Requirement exceed escrowed amount, Seller shall pay
 135               such actual costs. Any unused portion of escrowed amount(s) shall be returned to Seller.
 136         (b) COSTS TO BE PAID BY BUYER:
 137           • Taxes and recording fees on notes and mortgages                      • Loan expenses
 138           • Recording fees for deed and financing statements                     • Appraisal fees
 139           • Owner’s Policy and Charges (if Paragraph 9(c)(ii) is checked)        • Buyer’s Inspections
 140           • Survey (and elevation certification, if required)                    • Buyer’s attorneys’ fees
 141           • Lender’s title policy and endorsements                               • All property related insurance
 142           • HOA/Condominium Association application/transfer fees                • Owner’s Policy Premium (if Paragraph
 143           • Municipal lien search (if Paragraph 9(c)(ii) is checked)               9 (c)(iii) is checked.)
 144           • Other:
 145         (c) TITLE EVIDENCE AND INSURANCE: At least ______ (if left blank, then 15, or if Paragraph 8(a) is checked,
 146               then 5) days prior to Closing Date (“Title Evidence Deadline”), a title insurance commitment issued by a Florida
 147               licensed title insurer, with legible copies of instruments listed as exceptions attached thereto (“Title
 148               Commitment”) and, after Closing, an owner’s policy of title insurance (see STANDARD A for terms) shall be
 149               obtained and delivered to Buyer. If Seller has an owner’s policy of title insurance covering the Real Property, a
 150               copy shall be furnished to Buyer and Closing Agent within 5 days after Effective Date. The owner’s title policy
 151               premium, title search and closing services (collectively, “Owner’s Policy and Charges”) shall be paid, as set
 152               forth below. The title insurance premium charges for the owner’s policy and any lender’s policy will be calculated
 153               and allocated in accordance with Florida law, but may be reported differently on certain federally mandated
 154               closing disclosures and other closing documents. For purposes of this Contract “municipal lien search” means a
 155               search of records necessary for the owner’s policy of title insurance to be issued without exception for unrecorded
 156               liens imposed pursuant to Chapters 159 or 170, F.S., in favor of any governmental body, authority or agency.
 157               (CHECK ONE):
 158        Pg         (i) Seller shall designate Closing Agent and pay for Owner’s Policy and Charges, and Buyer shall pay the
 159               premium for Buyer’s lender’s policy and charges for closing services related to the lender’s policy,
 160               endorsements and loan closing, which amounts shall be paid by Buyer to Closing Agent or such other
 161               provider(s) as Buyer may select; or
 162                   (ii) Buyer shall designate Closing Agent and pay for Owner’s Policy and Charges and charges for closing
 163               services related to Buyer’s lender’s policy, endorsements and loan closing; or



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 164        Pg         (iii) [MIAMI-DADE/BROWARD REGIONAL PROVISION]: Seller shall furnish a copy of a prior owner’s policy
 165              of title insurance or other evidence of title and pay fees for: (A) a continuation or update of such title evidence,
 166              which is acceptable to Buyer’s title insurance underwriter for reissue of coverage; (B) tax search; and (C)
 167              municipal lien search. Buyer shall obtain and pay for post-Closing continuation and premium for Buyer’s owner’s
 168              policy, and if applicable, Buyer’s lender’s policy. Seller shall not be obligated to pay more than $_____________
 169              (if left blank, then $200.00) for abstract continuation or title search ordered or performed by Closing Agent.
 170          (d) SURVEY: On or before Title Evidence Deadline, Buyer may, at Buyer’s expense, have the Real Property
 171              surveyed and certified by a registered Florida surveyor (“Survey”). If Seller has a survey covering the Real
 172              Property, a copy shall be furnished to Buyer and Closing Agent within 5 days after Effective Date.
 173          (e) HOME WARRANTY: At Closing,               Buyer      Seller     N/A shall pay for a home warranty plan issued by
 174              ___________________________________________ at a cost not to exceed $_________________. A home
 175              warranty plan provides for repair or replacement of many of a home’s mechanical systems and major built-in
 176              appliances in the event of breakdown due to normal wear and tear during the agreement’s warranty period.
 177          (f) SPECIAL ASSESSMENTS: At Closing, Seller shall pay: (i) the full amount of liens imposed by a public body
 178              (“public body” does not include a Condominium or Homeowner’s Association) that are certified, confirmed and
 179              ratified before Closing; and (ii) the amount of the public body’s most recent estimate or assessment for an
 180              improvement which is substantially complete as of Effective Date, but that has not resulted in a lien being
 181              imposed on the Property before Closing. Buyer shall pay all other assessments. If special assessments may
 182              be paid in installments (CHECK ONE):
 183                   (a) Seller shall pay installments due prior to Closing and Buyer shall pay installments due after Closing.
 184              Installments prepaid or due for the year of Closing shall be prorated.
 185                   (b) Seller shall pay the assessment(s) in full prior to or at the time of Closing.
 186              IF NEITHER BOX IS CHECKED, THEN OPTION (a) SHALL BE DEEMED SELECTED.
 187              This Paragraph 9(f) shall not apply to a special benefit tax lien imposed by a community development district
 188              (CDD) pursuant to Chapter 190, F.S., which lien shall be prorated pursuant to STANDARD K.
 189                                                                  DISCLOSURES
 190      10. DISCLOSURES:
 191    Pg (a) RADON GAS: Radon is a naturally occurring radioactive gas that, when it is accumulated in a building in
 192                sufficient quantities, may present health risks to persons who are exposed to it over time. Levels of radon that
 193                exceed federal and state guidelines have been found in buildings in Florida. Additional information regarding
 194                radon and radon testing may be obtained from your county health department.
 195          (b)   PERMITS DISCLOSURE: Except as may have been disclosed by Seller to Buyer in a written disclosure, Seller
 196                does not know of any improvements made to the Property which were made without required permits or made
 197                pursuant to permits which have not been properly closed. If Seller identifies permits which have not been
 198                properly closed or improvements which were not permitted, then Seller shall promptly deliver to Buyer all plans,
 199                written documentation or other information in Seller’s possession, knowledge, or control relating to
 200                improvements to the Property which are the subject of such open permits or unpermitted improvements.
 201          (c)   MOLD: Mold is naturally occurring and may cause health risks or damage to property. If Buyer is concerned or
 202                desires additional information regarding mold, Buyer should contact an appropriate professional.
 203          (d)   FLOOD ZONE; ELEVATION CERTIFICATION: Buyer is advised to verify by elevation certificate which flood
 204                zone the Property is in, whether flood insurance is required by Buyer’s lender, and what restrictions apply to
 205                improving the Property and rebuilding in the event of casualty. If Property is in a “Special Flood Hazard Area”
 206                or “Coastal Barrier Resources Act” designated area or otherwise protected area identified by the U.S. Fish and
 207                Wildlife Service under the Coastal Barrier Resources Act and the lowest floor elevation for the building(s) and/or
 208                flood insurance rating purposes is below minimum flood elevation or is ineligible for flood insurance coverage
 209                through the National Flood Insurance Program or private flood insurance as defined in 42 U.S.C. §4012a, Buyer
 210                may terminate this Contract by delivering written notice to Seller within _____ (if left blank, then 20) days after
 211                Effective Date, and Buyer shall be refunded the Deposit thereby releasing Buyer and Seller from all further
 212                obligations under this Contract, failing which Buyer accepts existing elevation of buildings and flood zone
 213                designation of Property. The National Flood Insurance Program may assess additional fees or adjust premiums
 214                for pre-Flood Insurance Rate Map (pre-FIRM) non-primary structures (residential structures in which the insured
 215                or spouse does not reside for at least 50% of the year) and an elevation certificate may be required for actuarial
 216                rating.
 217          (e)   ENERGY BROCHURE: Buyer acknowledges receipt of Florida Energy-Efficiency Rating Information Brochure
 218                required by Section 553.996, F.S.



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 219      Pg (f) LEAD-BASED PAINT: If Property includes pre-1978 residential housing, a lead-based paint disclosure is
 220              mandatory.
 221          (g) HOMEOWNERS’ ASSOCIATION/COMMUNITY DISCLOSURE: BUYER SHOULD NOT EXECUTE THIS
 222              CONTRACT           UNTIL     BUYER       HAS       RECEIVED        AND     READ         THE      HOMEOWNERS’
 223              ASSOCIATION/COMMUNITY DISCLOSURE, IF APPLICABLE.
 224          (h) PROPERTY TAX DISCLOSURE SUMMARY: BUYER SHOULD NOT RELY ON THE SELLER’S CURRENT
 225              PROPERTY TAXES AS THE AMOUNT OF PROPERTY TAXES THAT THE BUYER MAY BE OBLIGATED TO
 226              PAY IN THE YEAR SUBSEQUENT TO PURCHASE. A CHANGE OF OWNERSHIP OR PROPERTY
 227              IMPROVEMENTS TRIGGERS REASSESSMENTS OF THE PROPERTY THAT COULD RESULT IN HIGHER
 228              PROPERTY TAXES. IF YOU HAVE ANY QUESTIONS CONCERNING VALUATION, CONTACT THE
 229              COUNTY PROPERTY APPRAISER’S OFFICE FOR INFORMATION.
 230          (i) FOREIGN INVESTMENT IN REAL PROPERTY TAX ACT (“FIRPTA”): Seller shall inform Buyer in writing if
 231              Seller is a “foreign person” as defined by the Foreign Investment in Real Property Tax Act (“FIRPTA”). Buyer
 232              and Seller shall comply with FIRPTA, which may require Seller to provide additional cash at Closing. If Seller
 233              is not a “foreign person”, Seller can provide Buyer, at or prior to Closing, a certification of non-foreign status,
 234              under penalties of perjury, to inform Buyer and Closing Agent that no withholding is required. See STANDARD
 235              V for further information pertaining to FIRPTA. Buyer and Seller are advised to seek legal counsel and tax
 236              advice regarding their respective rights, obligations, reporting and withholding requirements pursuant to
 237              FIRPTA.
 238          (j) SELLER DISCLOSURE: Seller knows of no facts materially affecting the value of the Real Property which are
 239              not readily observable and which have not been disclosed to Buyer. Except as provided for in the preceding
 240              sentence, Seller extends and intends no warranty and makes no representation of any type, either express or
 241              implied, as to the physical condition or history of the Property. Except as otherwise disclosed in writing Seller
 242              has received no written or verbal notice from any governmental entity or agency as to a currently uncorrected
 243              building, environmental or safety code violation.
 244                          PROPERTY MAINTENANCE, CONDITION, INSPECTIONS AND EXAMINATIONS
 245      11. PROPERTY MAINTENANCE: Except for ordinary wear and tear and Casualty Loss, Seller shall maintain the
 246          Property, including, but not limited to, lawn, shrubbery, and pool, in the condition existing as of Effective Date (“AS
 247          IS Maintenance Requirement”).

 248     12. PROPERTY INSPECTION; RIGHT TO CANCEL:
 249         (a) PROPERTY INSPECTIONS AND RIGHT TO CANCEL: Buyer shall have ______                   0     (if left blank, then 15)
 250             days after Effective Date (“Inspection Period”) within which to have such inspections of the Property
 251             performed as Buyer shall desire during the Inspection Period. If Buyer determines, in Buyer’s sole
 252             discretion, that the Property is not acceptable to Buyer, Buyer may terminate this Contract by delivering
 253             written notice of such election to Seller prior to expiration of Inspection Period. If Buyer timely
 254             terminates this Contract, the Deposit paid shall be returned to Buyer, thereupon, Buyer and Seller shall
 255             be released of all further obligations under this Contract; however, Buyer shall be responsible for
 256             prompt payment for such inspections, for repair of damage to, and restoration of, the Property resulting
 257             from such inspections, and shall provide Seller with paid receipts for all work done on the Property (the
 258             preceding provision shall survive termination of this Contract). Unless Buyer exercises the right to
 259             terminate granted herein, Buyer accepts the physical condition of the Property and any violation of
 260             governmental, building, environmental, and safety codes, restrictions, or requirements, but subject to
 261             Seller’s continuing AS IS Maintenance Requirement, and Buyer shall be responsible for any and all
 262             repairs and improvements required by Buyer’s lender.
 263
         Pg  (b) WALK-THROUGH        INSPECTION/RE-INSPECTION: On the day prior to Closing Date, or on Closing Date prior
 264             to time of Closing, as specified by Buyer, Buyer or Buyer’s representative may perform a walk-through (and
 265             follow-up walk-through, if necessary) inspection of the Property solely to confirm that all items of Personal
 266             Property are on the Property and to verify that Seller has maintained the Property as required by the AS IS
 267             Maintenance Requirement and has met all other contractual obligations.
 268         (c) SELLER ASSISTANCE AND COOPERATION IN CLOSE-OUT OF BUILDING PERMITS: If Buyer’s inspection
 269             of the Property identifies open or needed building permits, then Seller shall promptly deliver to Buyer all plans,
 270             written documentation or other information in Seller’s possession, knowledge, or control relating to
 271             improvements to the Property which are the subject of such open or needed Permits, and shall promptly
 272             cooperate in good faith with Buyer’s efforts to obtain estimates of repairs or other work necessary to resolve
 273             such Permit issues. Seller’s obligation to cooperate shall include Seller’s execution of necessary authorizations,


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 274
 275
           Pg     consents, or other documents necessary for Buyer to conduct inspections and have estimates of such repairs
                  or work prepared, but in fulfilling such obligation, Seller shall not be required to expend, or become obligated to
 276              expend, any money.
 277          (d) ASSIGNMENT OF REPAIR AND TREATMENT CONTRACTS AND WARRANTIES: At Buyer’s option and
 278              cost, Seller will, at Closing, assign all assignable repair, treatment and maintenance contracts and warranties
 279              to Buyer.
 280                                                            ESCROW AGENT AND BROKER
 281      13. ESCROW AGENT: Any Closing Agent or Escrow Agent (collectively “Agent”) receiving the Deposit, other funds
 282          and other items is authorized, and agrees by acceptance of them, to deposit them promptly, hold same in escrow
 283          within the State of Florida and, subject to COLLECTION, disburse them in accordance with terms and conditions
 284          of this Contract. Failure of funds to become COLLECTED shall not excuse Buyer’s performance. When conflicting
 285          demands for the Deposit are received, or Agent has a good faith doubt as to entitlement to the Deposit, Agent may
 286          take such actions permitted by this Paragraph 13, as Agent deems advisable. If in doubt as to Agent’s duties or
 287          liabilities under this Contract, Agent may, at Agent’s option, continue to hold the subject matter of the escrow until
 288          the parties agree to its disbursement or until a final judgment of a court of competent jurisdiction shall determine
 289          the rights of the parties, or Agent may deposit same with the clerk of the circuit court having jurisdiction of the
 290          dispute. An attorney who represents a party and also acts as Agent may represent such party in such action. Upon
 291          notifying all parties concerned of such action, all liability on the part of Agent shall fully terminate, except to the
 292          extent of accounting for any items previously delivered out of escrow. If a licensed real estate broker, Agent will
 293          comply with provisions of Chapter 475, F.S., as amended and FREC rules to timely resolve escrow disputes through
 294          mediation, arbitration, interpleader or an escrow disbursement order.
 295          In any proceeding between Buyer and Seller wherein Agent is made a party because of acting as Agent hereunder,
 296          or in any proceeding where Agent interpleads the subject matter of the escrow, Agent shall recover reasonable
 297          attorney’s fees and costs incurred, to be paid pursuant to court order out of the escrowed funds or equivalent. Agent
 298          shall not be liable to any party or person for mis-delivery of any escrowed items, unless such mis-delivery is due to
 299          Agent’s willful breach of this Contract or Agent’s gross negligence. This Paragraph 13 shall survive Closing or
 300          termination of this Contract.
 301      14. PROFESSIONAL ADVICE; BROKER LIABILITY: Broker advises Buyer and Seller to verify Property condition,
 302          square footage, and all other facts and representations made pursuant to this Contract and to consult appropriate
 303          professionals for legal, tax, environmental, and other specialized advice concerning matters affecting the Property
 304          and the transaction contemplated by this Contract. Broker represents to Buyer that Broker does not reside on the
 305          Property and that all representations (oral, written or otherwise) by Broker are based on Seller representations or
 306          public records. BUYER AGREES TO RELY SOLELY ON SELLER, PROFESSIONAL INSPECTORS AND
 307          GOVERNMENTAL AGENCIES FOR VERIFICATION OF PROPERTY CONDITION, SQUARE FOOTAGE AND
 308          FACTS THAT MATERIALLY AFFECT PROPERTY VALUE AND NOT ON THE REPRESENTATIONS (ORAL,
 309          WRITTEN OR OTHERWISE) OF BROKER. Buyer and Seller (individually, the “Indemnifying Party”) each
 310          individually indemnifies, holds harmless, and releases Broker and Broker’s officers, directors, agents and
 311          employees from all liability for loss or damage, including all costs and expenses, and reasonable attorney’s fees at
 312          all levels, suffered or incurred by Broker and Broker’s officers, directors, agents and employees in connection with
 313          or arising from claims, demands or causes of action instituted by Buyer or Seller based on: (i) inaccuracy of
 314          information provided by the Indemnifying Party or from public records; (ii) Indemnifying Party’s misstatement(s) or
 315          failure to perform contractual obligations; (iii) Broker’s performance, at Indemnifying Party’s request, of any task
 316          beyond the scope of services regulated by Chapter 475, F.S., as amended, including Broker’s referral,
 317          recommendation or retention of any vendor for, or on behalf of, Indemnifying Party; (iv) products or services
 318          provided by any such vendor for, or on behalf of, Indemnifying Party; and (v) expenses incurred by any such vendor.
 319          Buyer and Seller each assumes full responsibility for selecting and compensating their respective vendors and
 320          paying their other costs under this Contract whether or not this transaction closes. This Paragraph 14 will not relieve
 321          Broker of statutory obligations under Chapter 475, F.S., as amended. For purposes of this Paragraph 14, Broker
 322          will be treated as a party to this Contract. This Paragraph 14 shall survive Closing or termination of this Contract.
 323                                                   DEFAULT AND DISPUTE RESOLUTION
 324      15. DEFAULT:
 325          (a) BUYER DEFAULT: If Buyer fails, neglects or refuses to perform Buyer’s obligations under this Contract,
 326              including payment of the Deposit, within the time(s) specified, Seller may elect to recover and retain the Deposit
 327              for the account of Seller as agreed upon liquidated damages, consideration for execution of this Contract, and
 328              in full settlement of any claims, whereupon Buyer and Seller shall be relieved from all further obligations under


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 329               this Contract, or Seller, at Seller’s option, may, pursuant to Paragraph 16, proceed in equity to enforce Seller’s
 330               rights under this Contract. The portion of the Deposit, if any, paid to Listing Broker upon default by Buyer, shall
 331               be split equally between Listing Broker and Cooperating Broker; provided however, Cooperating Broker’s share
 332               shall not be greater than the commission amount Listing Broker had agreed to pay to Cooperating Broker.
 333         (b) SELLER DEFAULT: If for any reason other than failure of Seller to make Seller’s title marketable after
 334               reasonable diligent effort, Seller fails, neglects or refuses to perform Seller’s obligations under this Contract,
 335               Buyer may elect to receive return of Buyer’s Deposit without thereby waiving any action for damages resulting
 336     Pg        from Seller’s breach, and, pursuant to Paragraph 16, may seek to recover such damages or seek specific
 337               performance.
 338         This Paragraph 15 shall survive Closing or termination of this Contract.
 339     16. DISPUTE RESOLUTION: Unresolved controversies, claims and other matters in question between Buyer and
 340         Seller arising out of, or relating to, this Contract or its breach, enforcement or interpretation (“Dispute”) will be settled
 341         as follows:
 342         (a) Buyer and Seller will have 10 days after the date conflicting demands for the Deposit are made to attempt to
 343
 344
       Pg          resolve such Dispute, failing which, Buyer and Seller shall submit such Dispute to mediation under Paragraph
                   16(b).
 345         (b) Buyer and Seller shall attempt to settle Disputes in an amicable manner through mediation pursuant to Florida
 346               Rules for Certified and Court-Appointed Mediators and Chapter 44, F.S., as amended (the “Mediation Rules”).
 347               The mediator must be certified or must have experience in the real estate industry. Injunctive relief may be
 348               sought without first complying with this Paragraph 16(b). Disputes not settled pursuant to this Paragraph 16
 349               may be resolved by instituting action in the appropriate court having jurisdiction of the matter. This Paragraph
 350               16 shall survive Closing or termination of this Contract.
 351
       Pg17. ATTORNEY’S FEES; COSTS: The parties will split equally any mediation fee incurred in any mediation permitted
 352         by this Contract, and each party will pay their own costs, expenses and fees, including attorney’s fees, incurred in
 353         conducting the mediation. In any litigation permitted by this Contract, the prevailing party shall be entitled to recover
 354         from the non-prevailing party costs and fees, including reasonable attorney’s fees, incurred in conducting the
 355         litigation. This Paragraph 17 shall survive Closing or termination of this Contract.
 356                                STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”)
 357      18. STANDARDS:
 358          A. TITLE:
 359          (i) TITLE EVIDENCE; RESTRICTIONS; EASEMENTS; LIMITATIONS: Within the time period provided in
 360          Paragraph 9(c), the Title Commitment, with legible copies of instruments listed as exceptions attached thereto, shall
 361          be issued and delivered to Buyer. The Title Commitment shall set forth those matters to be discharged by Seller at
 362          or before Closing and shall provide that, upon recording of the deed to Buyer, an owner’s policy of title insurance
 363          in the amount of the Purchase Price, shall be issued to Buyer insuring Buyer’s marketable title to the Real Property,
 364          subject only to the following matters: (a) comprehensive land use plans, zoning, and other land use restrictions,
 365          prohibitions and requirements imposed by governmental authority; (b) restrictions and matters appearing on the
 366          Plat or otherwise common to the subdivision; (c) outstanding oil, gas and mineral rights of record without right of
 367          entry; (d) unplatted public utility easements of record (located contiguous to real property lines and not more than
 368          10 feet in width as to rear or front lines and 7 1/2 feet in width as to side lines); (e) taxes for year of Closing and
 369          subsequent years; and (f) assumed mortgages and purchase money mortgages, if any (if additional items, attach
 370          addendum); provided, that, none prevent use of Property for RESIDENTIAL PURPOSES. If there exists at Closing
 371          any violation of items identified in (b) – (f) above, then the same shall be deemed a title defect. Marketable title shall
 372          be determined according to applicable Title Standards adopted by authority of The Florida Bar and in accordance
 373          with law.
 374          (ii) TITLE EXAMINATION: Buyer shall have 5 days after receipt of Title Commitment to examine it and notify Seller
 375          in writing specifying defect(s), if any, that render title unmarketable. If Seller provides Title Commitment and it is
 376     Pg delivered to Buyer less than 5 days prior to Closing Date, Buyer may extend Closing for up to 5 days after date of
 377          receipt to examine same in accordance with this STANDARD A. Seller shall have 30 days (“Cure Period”) after
 378          receipt of Buyer’s notice to take reasonable diligent efforts to remove defects. If Buyer fails to so notify Seller, Buyer
 379          shall be deemed to have accepted title as it then is. If Seller cures defects within Cure Period, Seller will deliver
 380          written notice to Buyer (with proof of cure acceptable to Buyer and Buyer’s attorney) and the parties will close this
 381          Contract on Closing Date (or if Closing Date has passed, within 10 days after Buyer’s receipt of Seller’s notice). If
 382          Seller is unable to cure defects within Cure Period, then Buyer may, within 5 days after expiration of Cure Period,




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                            STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”) CONTINUED

 383    Pg    deliver written notice to Seller: (a) extending Cure Period for a specified period not to exceed 120 days within which
 384          Seller shall continue to use reasonable diligent effort to remove or cure the defects (“Extended Cure Period”); or
 385          (b) electing to accept title with existing defects and close this Contract on Closing Date (or if Closing Date has
 386          passed, within the earlier of 10 days after end of Extended Cure Period or Buyer’s receipt of Seller’s notice), or (c)
 387          electing to terminate this Contract and receive a refund of the Deposit, thereby releasing Buyer and Seller from all
 388          further obligations under this Contract. If after reasonable diligent effort, Seller is unable to timely cure defects, and
 389          Buyer does not waive the defects, this Contract shall terminate, and Buyer shall receive a refund of the Deposit,
 390          thereby releasing Buyer and Seller from all further obligations under this Contract.
 391          B. SURVEY: If Survey discloses encroachments on the Real Property or that improvements located thereon
 392          encroach on setback lines, easements, or lands of others, or violate any restrictions, covenants, or applicable
 393          governmental regulations described in STANDARD A (i)(a), (b) or (d) above, Buyer shall deliver written notice of
 394          such matters, together with a copy of Survey, to Seller within 5 days after Buyer’s receipt of Survey, but no later
 395          than Closing. If Buyer timely delivers such notice and Survey to Seller, such matters identified in the notice and
 396          Survey shall constitute a title defect, subject to cure obligations of STANDARD A above. If Seller has delivered a
 397          prior survey, Seller shall, at Buyer’s request, execute an affidavit of “no change” to the Real Property since the
 398          preparation of such prior survey, to the extent the affirmations therein are true and correct.
 399          C. INGRESS AND EGRESS: Seller represents that there is ingress and egress to the Real Property and title to
 400          the Real Property is insurable in accordance with STANDARD A without exception for lack of legal right of access.
 401          D. LEASE INFORMATION: Seller shall, at least 10 days prior to Closing, furnish to Buyer estoppel letters from
 402          tenant(s)/occupant(s) specifying nature and duration of occupancy, rental rates, advanced rent and security
 403          deposits paid by tenant(s) or occupant(s)(“Estoppel Letter(s)”). If Seller is unable to obtain such Estoppel Letter(s)
 404          the same information shall be furnished by Seller to Buyer within that time period in the form of a Seller’s affidavit
 405          and Buyer may thereafter contact tenant(s) or occupant(s) to confirm such information. If Estoppel Letter(s) or
 406          Seller’s affidavit, if any, differ materially from Seller’s representations and lease(s) provided pursuant to Paragraph
 407          6, or if tenant(s)/occupant(s) fail or refuse to confirm Seller’s affidavit, Buyer may deliver written notice to Seller
 408          within 5 days after receipt of such information, but no later than 5 days prior to Closing Date, terminating this
 409          Contract and receive a refund of the Deposit, thereby releasing Buyer and Seller from all further obligations under
 410          this Contract. Seller shall, at Closing, deliver and assign all leases to Buyer who shall assume Seller’s obligations
 411          thereunder.
 412          E. LIENS: Seller shall furnish to Buyer at Closing an affidavit attesting (i) to the absence of any financing
 413          statement, claims of lien or potential lienors known to Seller and (ii) that there have been no improvements or
 414          repairs to the Real Property for 90 days immediately preceding Closing Date. If the Real Property has been
 415          improved or repaired within that time, Seller shall deliver releases or waivers of construction liens executed by all
 416          general contractors, subcontractors, suppliers and materialmen in addition to Seller’s lien affidavit setting forth
 417          names of all such general contractors, subcontractors, suppliers and materialmen, further affirming that all charges
 418          for improvements or repairs which could serve as a basis for a construction lien or a claim for damages have been
 419          paid or will be paid at Closing.
 420          F. TIME: Calendar days shall be used in computing time periods. Time is of the essence in this Contract. Other
 421          than time for acceptance and Effective Date as set forth in Paragraph 3, any time periods provided for or dates
 422          specified in this Contract, whether preprinted, handwritten, typewritten or inserted herein, which shall end or occur
 423          on a Saturday, Sunday, or a national legal holiday (see 5 U.S.C. 6103) shall extend to 5:00 p.m. (where the Property
 424          is located) of the next business day.
 425          G. FORCE MAJEURE: Buyer or Seller shall not be required to perform any obligation under this Contract or be
 426          liable to each other for damages so long as performance or non-performance of the obligation, or the availability of
 427          services, insurance or required approvals essential to Closing, is disrupted, delayed, caused or prevented by Force
 428          Majeure. “Force Majeure” means: hurricanes, floods, extreme weather, earthquakes, fire, or other acts of God,
 429          unusual transportation delays, or wars, insurrections, or acts of terrorism, which, by exercise of reasonable diligent
 430          effort, the non-performing party is unable in whole or in part to prevent or overcome. All time periods, including
 431          Closing Date, will be extended a reasonable time up to 7 days after the Force Majeure no longer prevents
 432          performance under this Contract, provided, however, if such Force Majeure continues to prevent performance under
 433          this Contract more than 30 days beyond Closing Date, then either party may terminate this Contract by delivering
 434          written notice to the other and the Deposit shall be refunded to Buyer, thereby releasing Buyer and Seller from all
 435          further obligations under this Contract.
 436          H. CONVEYANCE: Seller shall convey marketable title to the Real Property by statutory warranty, trustee’s,
 437          personal representative’s, or guardian’s deed, as appropriate to the status of Seller, subject only to matters
 438          described in STANDARD A and those accepted by Buyer. Personal Property shall, at request of Buyer, be



          Buyer’s Initials _________ __________                       Page 8 of 12                              Seller’s Initials __________ __________
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                            STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”) CONTINUED

 439          transferred by absolute bill of sale with warranty of title, subject only to such matters as may be provided for in this
 440          Contract.
 441          I. CLOSING LOCATION; DOCUMENTS; AND PROCEDURE:
 442          (i) LOCATION: Closing will be conducted by the attorney or other closing agent (“Closing Agent”) designated by
 443          the party paying for the owner’s policy of title insurance and will take place in the county where the Real Property
 444          is located at the office of the Closing Agent, or at such other location agreed to by the parties. If there is no title
 445          insurance, Seller will designate Closing Agent. Closing may be conducted by mail, overnight courier, or electronic
 446          means.
 447          (ii) CLOSING DOCUMENTS: Seller shall at or prior to Closing, execute and deliver, as applicable, deed, bill of
 448          sale, certificate(s) of title or other documents necessary to transfer title to the Property, construction lien affidavit(s),
 449          owner’s possession and no lien affidavit(s), and assignment(s) of leases. Seller shall provide Buyer with paid
 450          receipts for all work done on the Property pursuant to this Contract. Buyer shall furnish and pay for, as applicable,
 451          the survey, flood elevation certification, and documents required by Buyer’s lender.
 452          (iii) FinCEN GTO NOTICE. If Closing Agent is required to comply with the U.S. Treasury Department’s
 453          Financial Crimes Enforcement Network (“FinCEN”) Geographic Targeting Orders (“GTOs”), then Buyer
 454          shall provide Closing Agent with the information related to Buyer and the transaction contemplated by this
 455          Contract that is required to complete IRS Form 8300, and Buyer consents to Closing Agent’s collection and
 456          report of said information to IRS.
 457          (iv) PROCEDURE: The deed shall be recorded upon COLLECTION of all closing funds. If the Title Commitment
 458          provides insurance against adverse matters pursuant to Section 627.7841, F.S., as amended, the escrow closing
 459          procedure required by STANDARD J shall be waived, and Closing Agent shall, subject to COLLECTION of all
 460          closing funds, disburse at Closing the brokerage fees to Broker and the net sale proceeds to Seller.
 461          J. ESCROW CLOSING PROCEDURE: If Title Commitment issued pursuant to Paragraph 9(c) does not provide
 462          for insurance against adverse matters as permitted under Section 627.7841, F.S., as amended, the following
 463          escrow and closing procedures shall apply: (1) all Closing proceeds shall be held in escrow by the Closing Agent
 464          for a period of not more than 10 days after Closing; (2) if Seller’s title is rendered unmarketable, through no fault of
 465          Buyer, Buyer shall, within the 10 day period, notify Seller in writing of the defect and Seller shall have 30 days from
 466          date of receipt of such notification to cure the defect; (3) if Seller fails to timely cure the defect, the Deposit and all
 467          Closing funds paid by Buyer shall, within 5 days after written demand by Buyer, be refunded to Buyer and,
 468          simultaneously with such repayment, Buyer shall return the Personal Property, vacate the Real Property and re-
 469          convey the Property to Seller by special warranty deed and bill of sale; and (4) if Buyer fails to make timely demand
 470          for refund of the Deposit, Buyer shall take title as is, waiving all rights against Seller as to any intervening defect
 471          except as may be available to Buyer by virtue of warranties contained in the deed or bill of sale.
 472          K. PRORATIONS; CREDITS: The following recurring items will be made current (if applicable) and prorated as of
 473          the day prior to Closing Date, or date of occupancy if occupancy occurs before Closing Date: real estate taxes
 474          (including special benefit tax assessments imposed by a CDD), interest, bonds, association fees, insurance, rents
 475          and other expenses of Property. Buyer shall have option of taking over existing policies of insurance, if assumable,
 476          in which event premiums shall be prorated. Cash at Closing shall be increased or decreased as may be required
 477          by prorations to be made through day prior to Closing. Advance rent and security deposits, if any, will be credited
 478          to Buyer. Escrow deposits held by Seller’s mortgagee will be paid to Seller. Taxes shall be prorated based on
 479          current year’s tax. If Closing occurs on a date when current year’s millage is not fixed but current year’s assessment
 480          is available, taxes will be prorated based upon such assessment and prior year’s millage. If current year’s
 481          assessment is not available, then taxes will be prorated on prior year’s tax. If there are completed improvements
 482          on the Real Property by January 1st of year of Closing, which improvements were not in existence on January 1st
 483          of prior year, then taxes shall be prorated based upon prior year’s millage and at an equitable assessment to be
 484          agreed upon between the parties, failing which, request shall be made to the County Property Appraiser for an
 485          informal assessment taking into account available exemptions. In all cases, due allowance shall be made for the
 486          maximum allowable discounts and applicable homestead and other exemptions. A tax proration based on an
 487          estimate shall, at either party’s request, be readjusted upon receipt of current year’s tax bill. This STANDARD K
 488          shall survive Closing.
 489          L. ACCESS TO PROPERTY TO CONDUCT APPRAISALS, INSPECTIONS, AND WALK-THROUGH: Seller
 490          shall, upon reasonable notice, provide utilities service and access to Property for appraisals and inspections,
 491          including a walk-through (or follow-up walk-through if necessary) prior to Closing.
 492          M. RISK OF LOSS: If, after Effective Date, but before Closing, Property is damaged by fire or other casualty
 493     Pg   (“Casualty Loss”) and cost of restoration (which shall include cost of pruning or removing damaged trees) does not
 494          exceed 1.5% of Purchase Price, cost of restoration shall be an obligation of Seller and Closing shall proceed
 495          pursuant to terms of this Contract. If restoration is not completed as of Closing, a sum equal to 125% of estimated


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                            STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”) CONTINUED

 496          cost to complete restoration (not to exceed 1.5% of Purchase Price) will be escrowed at Closing. If actual cost of
 497    Pg    restoration exceeds escrowed amount, Seller shall pay such actual costs (but, not in excess of 1.5% of Purchase
 498          Price). Any unused portion of escrowed amount shall be returned to Seller. If cost of restoration exceeds 1.5% of
 499          Purchase Price, Buyer shall elect to either take Property “as is” together with the 1.5%, or receive a refund of the
 500          Deposit thereby releasing Buyer and Seller from all further obligations under this Contract. Seller’s sole obligation
 501          with respect to tree damage by casualty or other natural occurrence shall be cost of pruning or removal.
 502          N. 1031 EXCHANGE: If either Seller or Buyer wish to enter into a like-kind exchange (either simultaneously with
 503          Closing or deferred) under Section 1031 of the Internal Revenue Code (“Exchange”), the other party shall cooperate
 504          in all reasonable respects to effectuate the Exchange, including execution of documents; provided, however,
 505          cooperating party shall incur no liability or expense related to the Exchange, and Closing shall not be contingent
 506          upon, nor extended or delayed by, such Exchange.
 507          O. CONTRACT NOT RECORDABLE; PERSONS BOUND; NOTICE; DELIVERY; COPIES; CONTRACT
 508          EXECUTION: Neither this Contract nor any notice of it shall be recorded in any public records. This Contract shall
 509          be binding on, and inure to the benefit of, the parties and their respective heirs or successors in interest. Whenever
 510          the context permits, singular shall include plural and one gender shall include all. Notice and delivery given by or to
 511          the attorney or broker (including such broker’s real estate licensee) representing any party shall be as effective as
 512          if given by or to that party. All notices must be in writing and may be made by mail, personal delivery or electronic
 513          (including “pdf”) media. A facsimile or electronic (including “pdf”) copy of this Contract and any signatures hereon
 514          shall be considered for all purposes as an original. This Contract may be executed by use of electronic signatures,
 515          as determined by Florida’s Electronic Signature Act and other applicable laws.
 516          P. INTEGRATION; MODIFICATION: This Contract contains the full and complete understanding and agreement
 517          of Buyer and Seller with respect to the transaction contemplated by this Contract and no prior agreements or
 518          representations shall be binding upon Buyer or Seller unless included in this Contract. No modification to or change
 519          in this Contract shall be valid or binding upon Buyer or Seller unless in writing and executed by the parties intended
 520          to be bound by it.
 521          Q. WAIVER: Failure of Buyer or Seller to insist on compliance with, or strict performance of, any provision of this
 522          Contract, or to take advantage of any right under this Contract, shall not constitute a waiver of other provisions or
 523          rights.
 524          R. RIDERS; ADDENDA; TYPEWRITTEN OR HANDWRITTEN PROVISIONS: Riders, addenda, and typewritten
 525          or handwritten provisions shall control all printed provisions of this Contract in conflict with them.
 526          S. COLLECTION or COLLECTED: “COLLECTION” or “COLLECTED” means any checks tendered or
 527          received, including Deposits, have become actually and finally collected and deposited in the account of
 528          Escrow Agent or Closing Agent. Closing and disbursement of funds and delivery of closing documents
 529          may be delayed by Closing Agent until such amounts have been COLLECTED in Closing Agent’s accounts.
 530          T. RESERVED.
 531          U. APPLICABLE LAW AND VENUE: This Contract shall be construed in accordance with the laws of the State
 532
       Pg     of Florida and venue for resolution of all disputes, whether by mediation, arbitration or litigation, shall lie in the
 533          county where the Real Property is located.
 534          V. FIRPTA TAX WITHHOLDING: If a seller of U.S. real property is a “foreign person” as defined by FIRPTA,
 535          Section 1445 of the Internal Revenue Code (“Code”) requires the buyer of the real property to withhold up to 15%
 536          of the amount realized by the seller on the transfer and remit the withheld amount to the Internal Revenue Service
 537          (IRS) unless an exemption to the required withholding applies or the seller has obtained a Withholding Certificate
 538          from the IRS authorizing a reduced amount of withholding.
 539          (i) No withholding is required under Section 1445 of the Code if the Seller is not a “foreign person”. Seller can
 540          provide proof of non-foreign status to Buyer by delivery of written certification signed under penalties of perjury,
 541          stating that Seller is not a foreign person and containing Seller’s name, U.S. taxpayer identification number and
 542          home address (or office address, in the case of an entity), as provided for in 26 CFR 1.1445-2(b). Otherwise, Buyer
 543          shall withhold the applicable percentage of the amount realized by Seller on the transfer and timely remit said funds
 544          to the IRS.
 545          (ii) If Seller is a foreign person and has received a Withholding Certificate from the IRS which provides for reduced
 546          or eliminated withholding in this transaction and provides same to Buyer by Closing, then Buyer shall withhold the
 547          reduced sum required, if any, and timely remit said funds to the IRS.
 548          (iii) If prior to Closing Seller has submitted a completed application to the IRS for a Withholding Certificate and has
 549          provided to Buyer the notice required by 26 CFR 1.1445-1(c) (2)(i)(B) but no Withholding Certificate has been
 550          received as of Closing, Buyer shall, at Closing, withhold the applicable percentage of the amount realized by Seller
 551          on the transfer and, at Buyer’s option, either (a) timely remit the withheld funds to the IRS or (b) place the funds in
 552          escrow, at Seller’s expense, with an escrow agent selected by Buyer and pursuant to terms negotiated by the


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                             STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”) CONTINUED

 553           parties, to be subsequently disbursed in accordance with the Withholding Certificate issued by the IRS or remitted
 554           directly to the IRS if the Seller’s application is rejected or upon terms set forth in the escrow agreement.
 555           (iv) In the event the net proceeds due Seller are not sufficient to meet the withholding requirement(s) in this
 556           transaction, Seller shall deliver to Buyer, at Closing, the additional COLLECTED funds necessary to satisfy the
 557           applicable requirement and thereafter Buyer shall timely remit said funds to the IRS or escrow the funds for
 558           disbursement in accordance with the final determination of the IRS, as applicable.
 559           (v) Upon remitting funds to the IRS pursuant to this STANDARD, Buyer shall provide Seller copies of IRS Forms
 560           8288 and 8288-A, as filed.
 561           W. RESERVED
 562           X. BUYER WAIVER OF CLAIMS: To the extent permitted by law, Buyer waives any claims against Seller
 563           and against any real estate licensee involved in the negotiation of this Contract for any damage or defects
 564           pertaining to the physical condition of the Property that may exist at Closing of this Contract and be
 565           subsequently discovered by the Buyer or anyone claiming by, through, under or against the Buyer. This
 566           provision does not relieve Seller’s obligation to comply with Paragraph 10(j). This Standard X shall survive
 567           Closing.
 568                                                       ADDENDA AND ADDITIONAL TERMS
 569      19. ADDENDA: The following additional terms are included in the attached addenda or riders and incorporated into this
 570          Contract (Check if applicable):
               A. Condominium Rider           K. RESERVED                                T. Pre-Closing Occupancy
               B. Homeowners’ Assn.           L. RESERVED                                U. Post-Closing Occupancy
               C. Seller Financing            M. Defective Drywall                       V. Sale of Buyer’s Property
               D. Mortgage Assumption         N. Coastal Construction Control            W. Back-up Contract
               E. FHA/VA Financing                 Line                                  X. Kick-out Clause
               F. Appraisal Contingency       O. Insulation Disclosure                   Y. Seller’s Attorney Approval
               G. Short Sale                  P. Lead Paint Disclosure (Pre-1978)        Z. Buyer’s Attorney Approval
               H. Homeowners/Flood Ins.       Q. Housing for Older Persons               AA. Licensee Property Interest
               I. RESERVED                    R. Rezoning                                BB. Binding Arbitration
               J. Interest-Bearing Acct.      S. Lease Purchase/ Lease Option            Other:




 571      20. ADDITIONAL TERMS:
 572      1. Seller is the chapter 7 bankruptcy trustee of an owner of record of the Property.
 573
 574      2. The sale is contingent upon and subject to approval by the United States Bankruptcy Court, shall be subject to higher and better offers and shall be
 575
          pursuant to Section 363 of the Bankruptcy Code.
 576      3. The Seller and his professionals make no representations or warranties of any kind. The sale shall be on an “as is, where is” basis.
 577
 578      4. The sale shall be free and clear of liens and claims, with any such liens and claims to attach to the sale proceeds.
 579
          5. Buyer is responsible for the owner’s title policy and premium. Seller will select the closing and title agent due to the unique circumstances of the
 580
          bankruptcy law and related issues.
 581
 582      6. Buyer is responsible for Lien Search Fees and Estoppel Fees when applicable.
 583
          7. Closing of the sale shall take place 14 days after the entry of a final and non-appealable order of the Bankruptcy Court approving this transaction,
 584
          or such sooner date as necessary if there is a short sale approval deadline that has been disclosed to the Buyer with at least 14 days’ notice.
 585
 586      8. The Bankruptcy Court shall have exclusive jurisdiction over this agreement and any disputes hereunder.
 587


 588                                                              COUNTER-OFFER/REJECTION
 589             Seller counters Buyer’s offer (to accept the counter-offer, Buyer must sign or initial the counter-offered terms and
 590          deliver a copy of the acceptance to Seller).
 591             Seller rejects Buyer’s offer.



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 592          THIS IS INTENDED TO BE A LEGALLY BINDING CONTRACT. IF NOT FULLY UNDERSTOOD, SEEK THE
 593          ADVICE OF AN ATTORNEY PRIOR TO SIGNING.

 594          THIS FORM HAS BEEN APPROVED BY THE FLORIDA REALTORS AND THE FLORIDA BAR.

 595          Approval of this form by the Florida Realtors and The Florida Bar does not constitute an opinion that any of the
 596          terms and conditions in this Contract should be accepted by the parties in a particular transaction. Terms and
 597          conditions should be negotiated based upon the respective interests, objectives and bargaining positions of all
 598          interested persons.

 599          AN ASTERISK (*) FOLLOWING A LINE NUMBER IN THE MARGIN INDICATES THE LINE CONTAINS A BLANK
 600          TO BE COMPLETED.

 601          Buyer:                                                                                                   Date: 12/5/2017

 602          Buyer:                                                                                                   Date:

 603          Seller:                                                                                                  Date:     12/11/17

                        Trustee Kenneth A. Welt for the Estate of Luis E. Linares & Ledy Cromoto
 604          Seller:                                                                                                  Date:

 605          Buyer’s address for purposes of notice                               Seller’s address for purposes of notice
 606          ___________________________________________                          ____________________________________________
 607          ___________________________________________                          ____________________________________________
 608          ___________________________________________                          ____________________________________________

 609          BROKER: Listing and Cooperating Brokers, if any, named below (collectively, “Broker”), are the only Brokers
 610          entitled to compensation in connection with this Contract. Instruction to Closing Agent: Seller and Buyer direct
 611          Closing Agent to disburse at Closing the full amount of the brokerage fees as specified in separate brokerage
 612          agreements with the parties and cooperative agreements between the Brokers, except to the extent Broker has
 613          retained such fees from the escrowed funds. This Contract shall not modify any MLS or other offer of compensation
 614          made by Seller or Listing Broker to Cooperating Brokers.

 615          ___________________________________________
              Paul McRae                                                               Alejandro J Morad (3322850)
                                                                                       __________________________________________
 616          Cooperating Sales Associate, if any                                      Listing Sales Associate

 617          ___________________________________________
              PMG Realty Group, LLC                                                    Charles Rutenberg Realty, LLC
                                                                                       __________________________________________
 618          Cooperating Broker, if any                                               Listing Broker




          Buyer’s Initials _________ __________                      Page 12 of 12                              Seller’s Initials __________ __________
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                       Exhibit "C"
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